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  Exhibit 4—E-mail
Exchange Between Mr.
 Coyne’s Counsel and
  Defense Counsel
                      Case 2:19-cv-05030-JDW Document 112-5 Filed 03/03/21 Page 2 of 3


McHale, Kevin J.

From:                                           Dolente, Daniel E.
Sent:                                           Monday, March 1, 2021 1:39 PM
To:                                             'Cavalier, Jonathan'; Pasquarello, Michele; Walton, David; Benson, Leigh Ann
Cc:                                             McHale, Kevin J.; Walker, Nancy D.; 'seth@dereksmithlaw.com'; 'SGold@DiscrimLaw.net';
                                                'BRieser@DiscrimLaw.net'; 'tgreenberg@discrimlaw.net'
Subject:                                        RE: Barbounis, Lisa v. Middle East Forum, et al (42432.00101)


Jon: In light of your MSJ deadline, extension granted. But I do point out that is yet another reason why the subpoena
should be withdrawn.

Please give me a call tomorrow before end of day. Cell is 610-999-9860.

Talk then,
Dan




                              Daniel E. Dolente
                              Attorney at Law
                              2000 Market Street, Suite 2300, Philadelphia, PA 19103
                              Direct: (267) 519-6574 | Main: (215) 575-2600 | Fax: (215) 575-0856
                              bio | e-mail | website


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telephone at (267) 519-6574 and then delete the message and its attachments from your computer.

From: Cavalier, Jonathan <JCavalier@cozen.com>
Sent: Monday, March 1, 2021 12:59 PM
To: Pasquarello, Michele <MMPasquarello@MDWCG.com>; Walton, David <DWalton@cozen.com>; Benson, Leigh Ann
<LBenson@cozen.com>
Cc: Dolente, Daniel E. <DEDolente@MDWCG.com>; McHale, Kevin J. <KJMcHale@MDWCG.com>; Walker, Nancy D.
<NDWalker@MDWCG.com>; 'seth@dereksmithlaw.com' <seth@dereksmithlaw.com>; 'SGold@DiscrimLaw.net'
<SGold@DiscrimLaw.net>; 'BRieser@DiscrimLaw.net' <BRieser@DiscrimLaw.net>; 'tgreenberg@discrimlaw.net'
<tgreenberg@discrimlaw.net>
Subject: RE: Barbounis, Lisa v. Middle East Forum, et al (42432.00101)

Daniel:

I will review your letter and the objections that you raised, would be happy to discuss them with you, as you suggest. I
cannot, however, comply with your end-of-today deadline, which four hours from now. Since you have reviewed the
relevant docket in this matter, I am sure you can understand why. I can likely get back to you by tomorrow.

Please let me know if that works, or if you will be filing the motions you referenced. If the latter, please attach this email
to your submission to the court.

Thanks,
Jon Cavalier
                                                                                    1
                      Case 2:19-cv-05030-JDW Document 112-5 Filed 03/03/21 Page 3 of 3


                                    Jonathan R. Cavalier
                                    Member | Cozen O'Connor
                                    One Liberty Place, 1650 Market Street Suite 2800 | Philadelphia, PA 19103
                                    P: 215-665-2776 F: 215-701-2112
                                    Email | Bio | LinkedIn | Map | cozen.com




From: Pasquarello, Michele <MMPasquarello@MDWCG.com>
Sent: Monday, March 1, 2021 12:47 PM
To: Cavalier, Jonathan <JCavalier@cozen.com>; Walton, David <DWalton@cozen.com>; Benson, Leigh Ann
<LBenson@cozen.com>
Cc: Dolente, Daniel E. <DEDolente@MDWCG.com>; McHale, Kevin J. <KJMcHale@MDWCG.com>; Walker, Nancy D.
<NDWalker@MDWCG.com>; 'seth@dereksmithlaw.com' <seth@dereksmithlaw.com>; 'SGold@DiscrimLaw.net'
<SGold@DiscrimLaw.net>; 'BRieser@DiscrimLaw.net' <BRieser@DiscrimLaw.net>; 'tgreenberg@discrimlaw.net'
<tgreenberg@discrimlaw.net>
Subject: Barbounis, Lisa v. Middle East Forum, et al (42432.00101)

**EXTERNAL SENDER**

Good Afternoon Mr. Cavlier,

        Attached please find correspondence in the above-captioned matter regarding Objections and Responses of
Non-Party, Ryan Coyne, to the Rule 45 Subpoena.

            We would kindly ask that all parties please confirm receipt of this e-mail and its attachments.

            Thank you for your attention to this matter.


                              Michele Pasquarello
                              Administrative Assistant
                              2000 Market Street, Suite 2300, Philadelphia, PA 19103
                              Direct: (267) 787-8012 | Main: (215) 575-2600 | Fax: (215) 575-0856
                              e-mail | website

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